                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE

 UNITED STATES OF AMERICA                    )
                                             )
              Plaintiff,                     )
                                             )
 v.                                          )    No.:   3:22-CR-96-TAV-JEM-2
                                             )
 MALIK M. SCOTT-BOYNTON,                     )
                                             )
              Defendant.                     )

                                         ORDER

       This criminal matter is before the Court on the Report and Recommendation

 (“R&R”) entered by United States Magistrate Judge Jill E. McCook on February10, 2023

 [Doc. 60], in which Judge McCook recommends that the Court deny defendant’s motion

 to suppress [Doc. 34]. There have been no timely objections filed to the R&R. See 28

 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b)(2).

       After carefully reviewing the matter, the Court agrees with Judge McCook’s

 recommendation and reasoning, which the Court adopts and incorporates into its ruling.

 Accordingly, the Court ACCEPTS IN WHOLE the R&R [Doc. 60].                Defendant’s

 Motion to Suppress [Doc. 34] is DENIED.

       IT IS SO ORDERED.


                                   s/ Thomas A. Varlan
                                   UNITED STATES DISTRICT JUDGE




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